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 7
 8                      UNITED STATES DISTRICT COURT
 9                   CENTRAL DISTRICT OF CALIFORNIA
10   GRACIELA HERRERA; and RUBEN   ) CASE NO. CV16-02719 DSF (SKx)
                                   ) Honorable Judge: Dale S. Fischer
11   ORDAZ,                        )
                                   ) Honorable Magistrate Judge: Steve Kim
12                  Plaintiffs,    )
                                   ) DEFENDANTS’ SPECIAL VERDICT
13   vs.                           ) FORM
                                   )
14                                 )
     CITY OF LOS ANGELES;          ) PRE-TRIAL
15   ALEJANDRO DOWNEY; and DOES 1- ) CONF. DATE:THSEPTEMBER 11, 2017
                                   ) CTRM: 7D, 7 FLOOR
     10, inclusive,                ) TIME: 3:00 P.M
16                                 )
                    Defendants.
17                                 )
                                   )
18                                 ) TRIAL
                                   ) DATE: OCTOBER  TH
                                                            3, 2017
19                                 ) CTRM: 7D, 7 FLOOR
                                   ) TIME: 8:30 A.M
20                                 )
                                   )
21                                 )
                                   )
                                   )
22                                 )
23
24         TO THE ABOVE-ENTITLED COURT AND TO PLAINTIFFS AND
25   THEIR ATTORNEYS OF RECORD HEREIN:
26   ///
27   ///
28

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 1         Pursuant to the U.S.D.C. Local Rules, Rule 16-4, this Court’s Standing Order re
 2   Civil Trial and the Court’s Order dated August 30, 2017, Defendants CITY OF LOS
 3   ANGELES and ALEJANDRO DOWNEY hereby submit their proposed Special
 4   Verdict Form.
 5         Defendants have not included any questions concerning Plaintiffs’ state law
 6   claims.   Should the Court permit Plaintiffs to submit those claims to the jury,
 7   Defendants request permission to submit a revised special verdict form.
 8
 9
10   Dated: September 5, 2017       LAW OFFICES OF DALE K. GALIPO
11
                                    By:              /s/ Eric Valenzuela
12                                        DALE K. GALIPO
13                                        ERIC VALENZUELA
                                    Attorneys for Plaintiffs GRACIELA HERRERA and
14                                  RUBEN ORDAZ
15
16
17   Dated: September 5, 2017       MICHAEL N. FEUER, City Attorney
                                    THOMAS H. PETERS, Chief Assistant City Attorney
18                                  CORY M. BRENTE, Assistant City Attorney
19
                                    By:             /s/ Colleen R. Smith
20                                      COLLEEN R. SMITH, Deputy City Attorney
                                    Attorneys for Defendants CITY OF LOS ANGELES
21                                  and ALEJANDRO DOWNEY
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 1   WE, THE JURY in the above-entitled action, unanimously find as follows on the
 2   questions submitted to us:
 3
 4   QUESTION NO. 1: Have Plaintiffs proved by a preponderance of the evidence that
 5   Defendant Alejandro Downey used unreasonable force against Ruben Herrera in
 6   violation of his Fourth Amendment constitutional rights?
 7                                        YES __________           NO ___________
 8
 9   If you answered “No”, please proceed to Question No. 5.
10   If you answered “Yes”, please proceed to Question 2.
11
12   QUESTION NO. 2:        If you answered “Yes” to Question No. 1, was the use of
13   unreasonable force a cause of Ruben Herrera’s death?
14                                        YES __________         NO ___________
15
16   If you answered “No”, please proceed to Question No. 5.
17   If you answered “Yes”, please proceed to Question 3.
18
19   QUESTION NO. 3: Have any of the following Plaintiffs proved by a preponderance of
20   the evidence that Defendant Alejandro Downey violated any of the following
21   Plaintiffs’ Fourteenth Amendment Constitutional Rights to a familial association with
22   Ruben Herrera by using unreasonable force to detain him and with an unlawful
23   purpose to harm him?
24
           Answer (check “Yes” or “No”) following the name of each Plaintiff for whom
25
     you answer “Yes” in response to this Question:
26
27               Graciela Herrera                  YES ______   NO _______

28               Ruben Ordaz                       YES ______   NO _______

                                               3
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 1   If you answered “No” as to each Plaintiff, skip to Question No. 5.
 2   If you answered “Yes” as to any Plaintiff, proceed to Question No. 4.
 3
 4   QUESTION NO. 4: For each “Yes” response to Question No. 3, do you find that
 5   Plaintiffs have proved that Defendant Alejandro Downey’s conduct was the cause of
 6   injury to that Plaintiff?
 7          Answer (check “Yes” or “No”) following the name of only that Plaintiff for
 8   whom you answered “Yes” in response to Question 3:
 9
                   Graciela Herrera                 YES ______   NO _______
10
                   Ruben Ordaz                      YES ______   NO _______
11
12
     Please proceed to Question No. 5.
13
14
     QUESTION 5: If you answered “Yes” to Question 2, please answer the following
15
     question. If you answered “No” to Question 2, please proceed to Question 6. What
16
     are Ruben Herrera’s damages for his pain and suffering? $____________
17
18
     Please proceed to Question 6.
19
20
     QUESTION NO. 6: If you answered “Yes” to Question 4, answer the following
21
     question. If you answered “No” to Question 4, please proceed to Question 7. What
22
     are the total amount of Plaintiff Graciela Herrera’s damages for the interference with
23
     her familial relationship with her son under the Fourteenth Amendment?
24
                          Total:      $ _______________
25
26
27
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 1   Please proceed to the Question 7.
 2
 3   QUESTION NO. 7: If you answered “Yes” to Question 4, answer the following
 4   question. If you answered “No” to Question 4, please proceed to Question 8. What
 5   are the total amount of Plaintiff Ruben Ordaz’s damages for the interference with his
 6   familial relationship with his son under the Fourteenth Amendment?
 7         Total:        $ _____________
 8
 9   Please proceed to the Question 8.
10
11   QUESTION NO. 8: If you answered “Yes” to Question 2 and/or 4, please answer the
12   following question. If you answered “No” to Question 2 and 4, please sign and date
13   this verdict form and return it to the Court. Have Plaintiffs proved by a preponderance
14   of the evidence that the conduct of Defendant Alejandro Downey was malicious,
15   oppressive or in reckless disregard of Ruben Herrera’s federal constitutional rights?
16         YES ________        NO ________
17
18
19   Please sign and date this verdict form and return it to the Court.
20
21   Dated:         ____________                     Signed:    _________________
22                                                              Jury Foreperson
23
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 1   PLAINTIFFS’ OBJECTION:
 2          With regard to the Fourteenth Amendment Claim, this does not allow for the
 3   jury to first determine if deliberation was possible. Under the law, depending on
 4   whether deliberation was possible or not, purpose to harm may not be the applicable
 5   standard. Further, since it is undisputed that Decedent died from his gunshot wounds,
 6   the language as to causation is confusing. Further, the wrongful damages that
 7   Plaintiffs are entitled to under the Fourteenth Amendment include both past and future
 8   loss of love, comfort society, etc..., and Defendants verdict form does not reflect this.
 9   Finally, Plaintiffs request that this Court exercise supplemental jurisdiction over the
10   state law claims.
11
12
13   DEFENDANTS’ REPLY:
14          Defendants’ proposed verdict form reflects the claims in light of the evidence
15   that will be presented. Defendants contend that Officer Downey did not have time to
16   deliberate and that unlawful purpose to harm is the correct standard.
17          With respect to damages, federal law does not require that damages be
18   separated. This claim is not subject to apportionment, thus there does not need to be
19   more than one blank for damages for each question. Defendants presume that the jury
20   will follow the Court’s instructions and make the appropriate decision on damages, if
21   any.
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 1                                       ATTESTATION
 2         Pursuant to L.R. 5-4.3.4(a)(2)(i), I hereby attest that Eric Valenzuela, counsel
 3   for Plaintiffs Graciela Herrera and Ruben Ordaz, concurs in the content of this filing
 4   and has authorized this filing.
 5
 6
     Dated: September 5, 2017          MICHAEL N. FEUER, City Attorney
 7                                     THOMAS H. PETERS, Chief Assistant City Attorney
 8                                     CORY M. BRENTE, Assistant City Attorney
 9                                     By:             /s/ Colleen R. Smith
10                                         COLLEEN R. SMITH, Deputy City Attorney
                                       Attorneys for Defendants CITY OF LOS ANGELES
11                                     and ALEJANDRO DOWNEY
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